         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 1 of 16




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Case. No. 21-287-1 (TNM)
                                     )
KEVIN SEEFRIED                       )
                                     )
                  Defendant.         )
____________________________________ )

        DEFENDANT’S MOTION TO DISMISS COUNT OF THE INDICTMENT

        The defendant, Kevin Seefried, through undersigned counsel moves pursuant Fed. R.

 Crim. P. 12(b) to dismiss count 1of Indictment charging him with a violation of violation of 18

 U.S.C. § 1512(c)(2). Rule 12(b) of the Federal Rules of Criminal Procedure permits the filings

 of pre-trial motions to dismiss the indictment. Under Rule 12(b), this Court must dismiss an

 indictment (or separate counts within it) “where the material facts are undisputed and only an

 issue of law is presented.” United States v. Yakou, 428 F.3d 241, 247 (D.C. Cir. 2005), citing as

 examples, United States v. Espy, 145 F.3d 1369, 1370 (D.C. Cir. 1998); United States v. Oakar,

 111 F.3d 146, 147-50 (D.C. Cir. 1997). For the reasons discussed below, count one fails to state

 an offense and fail to give proper notice to the defendant.

       PROCEDURAL BACKGROUND

       On January 13, 2021, Kevin Seefried was charged in a complaint with Knowingly

Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority in

violation of 18 U.S.C. §1752(a), and Violent Entry and Disorderly Conduct on Capitol Grounds

in violation of 40 U.S.C. §5104(e)(2)(E)(D)&(G). See ECF No. 1. On April 7, 2021, a grand

jury charged Mr. Seefried him in a four count indictment with violations of 18 U.S.C. §



                                                 1
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 2 of 16




1512(c)(2) (Count One), 18 U.S.C. §1752(a)(1) (Count Two), 18 U.S.C. §1752(a)(1)(2) (Count

Three), and 40 U.S.C. §5104(e)(2)(E)(D)&(G) (Count Four). See ECF. No. 20.

       FACTUAL BACKGROUND

       On January 6, 2021, Mr. Seefried along with his wife, son and his son’s girlfriend left

their residence in Delaware at approximately 3:00 a.m. to travel to Washington D.C. Their

purpose was to show their support for Donald Trump. Donald Trump had many supporters,

including politicians, business people, lawyers, and media personalities who willingly amplified

his message. Even in Congress both in the House and Senate, Donald Trump had supporters who

encouraged the common persons like, Mr. Seefried and his family to attend his rally in

Washington, D.C.

        Mr. Seefried could not have anticipated what was destined to happen. He was coming to

the Washington mall to participate in a march and demonstration that are frequent in

Washington, D.C. Mr. Seefried never intended to participate in violent conduct and to enter the

Capitol. Mr. Seefried never communicated or coordinated with others about traveling to

Washington, D.C. He never posted any messages, videos or pictures on any social media. Mr.

Seefried was not affiliated with any political organization, mainstream or extremist. Mr.

Seefried was not in the Capitol with a conspiratorial agenda. Mr. Seefried entered the Capitol

but he did not act violently or aggressively. Mr. Seefried entered the Capitol at approximately

2:13 p.m. and he left on his own volition at approximately 2:36 p.m.

        During the twenty-three minutes that he was inside the Capitol, Mr. Seefried did not

destroy any property, he did not assault or threatened a police officer, he did not steal any

property and he did not video stream or post any messages that supported, encouraged or any

way lauded the unlawful conduct that was happening around him. Instead of going further into



                                                  2
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 3 of 16




the Capitol and rummaging into the private offices and chambers of government officials, he left

the Capitol with his son and rejoined his wife.

       Mr. Seefried acknowledges as he has to and as he did to FBI investigators that he went to

Washington, D.C. with his Confederate flag. He carried his flag inside the Capitol. Importantly,

unlike others who used their flags to destroy property, to break police lines and to assault police

officers, Mr. Seefried did nothing else other than carry his flag on his shoulder. The government

has charged Mr. Seefried in a four-count indictment for doing this and nothing else.

       LEGAL AUTHORITY

       The Indictment must be a “plain, concise, and definite written statement of the essential

facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). An indictment “must provide

the defendant sufficient detail to allow him to prepare a defense, to defend against a subsequent

prosecution for the same offense, and to ensure that he be prosecuted upon facts presented to the

grand jury.” United States v. Apodaca, 275 F. Supp. 3d 123, 153 (D.C. Cir. 2017) (citing Russell

v. United States, 369 U.S. 749 (1962), and Stirone v. United States, 361 U.S. 212 (1960)). A

criminal defendant “may raise by pretrial motion any defense, objection, or request that the Court

can determine without a trial on the merits.” Fed. R. Crim. P. 12(b)(3). Rule 12 provides that a

defendant may also move to dismiss the Indictment for “failure to state an offense” and “lack of

specificity.” Fed. R. Crim. P. 12(b)(3)(B)(iii),(v).

       A criminal statute is unconstitutionally vague if it “fails to give ordinary people fair

notice of the conduct it punishes, or is so standardless that it invites arbitrary enforcement.”

United States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir. 2017) (quoting Johnson v. United

States, 576 U.S. 591, 595 (2015)). “The touchstone is whether the statute, either standing alone

or as construed, made it reasonably clear at the relevant time that the defendant’s conduct was


                                                  3
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 4 of 16




criminal.” United States v. Lanier, 520 U.S. 259 (1997). The “void-for-vagueness doctrine”

protects against arbitrary or discriminatory law enforcement. Sessions v. Dimaya, 138 S. Ct.

1204, 1212 (2018) (citing Kolender v. Lawson, 461 U.S. 352, 358 (1983)).

       The rule of lenity applies if the terms of the statute are ambiguous; once it is determined

that a statute is ambiguous, the rule of lenity “requires that the more lenient interpretation

prevail.” United States v. R.L.C., 503 U.S. 291, 293 (1992). This rule is rooted in “the

instinctive distaste against men languishing in prison unless the lawmaker has clearly said they

should.” Id. at 305 (quoting United States v. Bass, 404 U.S. 348, 336 (1971)). Courts have

“[r]eserved lenity for those situations in which a reasonable doubt persists about a statute’s

intended scope even after resort to the language and structure, legislative history, and motivating

policies of the statute.” Id. (citing Moskal v. United States, 498 U.S. 103, 108 (1990)).

“Whether a statutory term is unambiguous … does not turn solely on dictionary definitions of its

component words. Rather, ‘the plainness or ambiguity of statutory language is determined [not

only] by reference to the language itself, [but as well by] the specific context in which that

language is used, and the broader context of the statute as a whole. Yates v. United States, 574

U.S. 528, 537 (2015) (quoting Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997)).

                                       ARGUMENT

I. 18 U.S.C. §1512(c)(2) as alleged in the Indictment Fails to State an Offense

           a. Congressional Intent and Statutory Construction of 18 U.S.C. §1512(c)(2)

           The congressional intent and plain meaning of the statute makes clear that the purpose

of the law is to protect the integrity of hearings before tribunals by preventing witness tampering

and destruction of evidence.

        18 U.S.C. §1512(c) provides: “Whoever corruptly –



                                                  4
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 5 of 16




            (1) Alters, destroys, mutilates, or conceals a record, document, or other
                object, or attempts to do so, with the intent to impair the object’s
                integrity or availability for use in an official proceeding; or

            (2) Otherwise obstructs, influences, or impedes any official
                proceeding, or attempts to do so…shall be fine….or imprisoned…

   §1512(c). An “official proceeding” is defined as –

            (1) A proceeding before a judge or court of the United States, a United states
                magistrate judge, bankruptcy judge, a judge of the United States Tax Court,
                a special trial judge of the Tax Court, a judge of the United States Court of
                Federal Claims, or a Federal grand jury;

            (2) A proceeding before the Congress;

            (3) A proceeding before a Federal Government agency which is
                authorized by law; or

            (4) A proceeding involving the business of insurance whose activities affect
                interstate commerce before any insurance regulatory official or agency or
                any agent or examiner appointed by such official or agency to examine the
                affairs of any person engaged in the business of insurance whose activities
                affect interstate commerce;

§1515(a)(1).

       18 U.S.C. §1512(c) was enacted as part of the Sarbanes-Oxley Act of 2002, which was

titled “Corporate Fraud Accountability,” and which targeted “corporate malfeasance.” Pub.L.

No. 107-204, 116 Stat. 745. Sarbanes-Oxley was designed to “protect investors and restore trust

in financial markets following the collapse of the Enron Corporation” after revelations that

Enron’s outside auditor had “systematically destroyed potentially incriminating documents.”

Yates v. U.S. 574 U.S. 528, 532 (2015). Given the context and purpose of the Sarbanes-Oxley

legislation, the Supreme Court narrowly interpreted the term “tangible object” in §1519, which

penalized

               [w]hoever knowingly alters, destroys, mutilates, conceals, covers
               up, falsifies, or makes a false entry in any record, document, or
               tangible object with the intent to impede, obstruct, or influence the
                                                 5
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 6 of 16




               investigation or proper administration of any matter within the
               jurisdiction of any department or agency of the United States…..

18 U.S.C. §1519. Keeping in mind that in the Sarbanes-Oxley Act, “Congress trained its

attention on corporate and accounting deception and cover-ups” id. at 532, the Court held that

the Act did not contemplate penalizing the act of tossing undersized fish overboard to avoid the

consequences of an inspection by federal authorities. Rather, in the context of the statute’s

purpose, a “tangible object” must be one used to record or preserve information.” Id. So while

fish are in fact tangible objects in the ordinary sense of that phrase, they do not qualify as

tangible objects for purposes of §1519.

       In an amendment to §1512, the Sarbanes-Oxley Act added the current subsection (c)(2),

which penalizes corruptly obstructing, influencing, or impeding “any official proceeding.” The

term “official proceeding” is defined in §1515 to include a proceeding “before a judge or court of

the United States” and a proceeding “before the Congress.” Like the phrase “tangible objects” in

§1519, the phrase “official proceeding” in §1512 requires interpretation. “Dictionary definitions

of the term ‘proceeding’ alone…cannot conclusively resolve” whether a proceeding is an

“official proceeding” under §1512. United States v. Ermoian, 752 F.3d 1165, 1170 (9th Cir.

2013). Courts have also interpreted “official proceeding” to imply something formal. See, e.g.,

United States v. Sutherland, 921 F.3d 421, 426 (4th Cir. 2019) (FBI investigation not an official

proceeding” because that term “implies something more formal than a mere investigation”), cert.

denied, 140 S. Ct. 1106; United States v. Dunn, 434 F. Supp. 2d 1203, 1207 (M.D. Ala. 2006) )

(investigation conducted by Bureau of Alcohol, Tobacco, and Firearms not an “official

proceeding” because the term encompasses “events that are best thought of as hearings (or

something akin to hearings”). As with the phrase “tangible object” in §1519, the phrase “official

proceeding” must be interpreted in light of the statute’s purpose, which is “to enhance and


                                                  6
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 7 of 16




protect the necessary role of crime victims and witnesses in the criminal justice process.” United

States v. Ramos, 537 F.3d 439, 462 (5th Cir. 2008).

       A fair reading of the “witness tampering” statute, and the “official proceeding before the

Congress” contemplates the same type of “adversarial nature” as court proceedings where there

is a potential for witnesses to be influenced or documents to be destroyed. See S.Rep. No. 107-

146, at *6 (2002). “[T]he charged conduct must have some reasonable nexus to a record,

document or tangible object,” United States v. Singleton, 2006 WL 1984467 *3 (S.D. Texas

2006), or to witness testimony, United States v. Kumar, 617 F.3d 612, 619-20 (2d Cir. 2010), and

the obstruction must concern a proceeding involving adjudicative or at least “quasi-adjudicative

responsibilities.” United States v. Perez, 575 F.3d 164, 169 (2d Cir. 2009). For example, in

Ermoian, 752 F.3d at 1170-71, the court held that an “official proceeding” suggests a “formal

appearance before a tribunal;” an FBI field investigation did not qualify. The court held that “when

examining the term ‘proceeding’ within the grammatical structure of the definition at issue, it

becomes clear that the term connotes some type of formal hearing.” Id. Most importantly, the

court focused on the contextual language that §1512 uses when referring to “official proceeding.”

The Court explained that §1512 refers to “preventing the attendance or testimony of any person”;

“preventing the production of a record, document, or other object, in an official proceeding; and

being absent from an official proceeding to which that person has been summoned by legal

process.” Id. at 1171-1172. It was important to the Court that the use of the words, “testimony,”

“attendance,” “production,” and “summons,” “strongly implies a hearing before a formal tribunal.”

Id. at 1172. Accord United States v. McDaniel, 2014 WL 2084891 (N.D. Georgia 2014) (“official

proceeding” for purposes of §1512(c) did not include an FBI investigation); Sutherland at 921




                                                 7
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 8 of 16




F.3d 421, (the term “proceeding” implies ‘some formal convocation….in which parties are

directed to appear”) (quoting United States v. Young, 916 F.3d 368, 384 (4th Cir. 2019)). 1

            b. The Electoral Count on January 6 is not an “Official Proceeding”

       When considering the legislative history of 18 U.S.C. §1512 and Congress’s role in

counting the electoral votes pursuant to the 12th Amendment and the Electoral Count Act of

1887, later codified in 3 U.S.C. §15, the electoral count is clearly a ceremonial and

administrative event that is not an “official proceeding” contemplated in §1512; it is not an

adjudicative proceeding involving witness testimony and evidence. The Twelfth Amendment

and the Electoral Count Act of 1887 place the responsibility on Congress to count electoral votes

after the states have already heard any disputes and certified the vote. Bush v. Gore, 531 U.S. 98,

154 (2000) (Breyer, J., dissenting). Members of Congress may make an objection, in writing,

and without argument. 3 U.S.C. §15. According to the statute, there is no testimony, no

witnesses, no argument, and no evidence.

       The purpose of the Electoral Count Act of 1887 was to resolve years of confusion as to

what exactly Congress’s role was in counting the electoral votes. The seven sections of the Act

attempt to do five things:

           (1) Give the states enough time between election day and elector
               balloting day to settle controversies over the appointment of their
               presidential electors (Section 1);

           (2) Encourage the states to establish mechanisms for resolving contests
               over the appointment of presidential electors prior to the day of
               electoral balloting (Section 2);




1
 The D.C. Circuit has not addressed the question, except in a pre-Sarbane-Oxley version of §
1512, one that did not include the current subsection (c)(2), where the Court held that by entering
into a plan to encourage others to falsify documents and to testify falsely before the Inspector
General in a matter that was to be passed to the grand jury, the defendant obstructed an official
proceeding. United States v. Kelley, 36 F.3d 1118, 1123 (D.C. Cir. 1994).
                                                 8
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 9 of 16




           (3) Publicize and place on the record the states’ determination of the
               outcome of their electoral appointment process (Section 3)’

           (4) Minimize congressional involvement in resolving controversies over
               elector appointment not authoritatively resolved by the states (Section
               4);

           (5) Settle procedural issues for conducting the joint session at which
               Congress counts the states’ electoral votes (Sections 4-7). 2

       The sponsors of the Electoral Count Act hoped that “if the disputes touching the

Constitution of the Electoral Colleges in the States could be disposed of in advance of their

action, the counting of the electoral votes at the seat of government…would be usually a little

more than a formal ceremony.” 3 Section 5 of the Act provides that the “State’s selection of

electors “shall be conclusive, and shall govern in the counting of the electoral votes” if the

procedural rules have been followed. Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist, J.,

concurrence). Thus, the legislative history of the Act suggests that the Electoral Count is

intended to be a “ceremonial” finalization of the votes that have already been certified by the

states to ensure that certain requirements have been met before the votes are finalized and

recorded. So while Congress is in session on January 6, it is not the “proceeding before

Congress” for purposes of §18 U.S.C. 1512(c) and 1515(b).

       The premise of count one of the Indictment is that Mr. Seefried intended to “impede or

influence” Congress’s certification of the Electoral College vote. This allegation can only be

based on the theory that the “ceremonial” certification is an “official proceeding.” As outlined


2
  Stephen A. Siegel, The Conscientious Congressman’s Guide to the Electoral Count Act of 1887, 56
FLLR 541, 578 (2004)
3
  Stephen A. Siegel, The Conscientious Congressman’s Guide to the Electoral Count Act of 1887, 56 FLLR
541, 585 (2004) (quoting Senator George Edmunds in H.R. Misc. Doc. No. 44-13, supra note 31, at 18).




                                                  9
        Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 10 of 16




by the congressional intent of 18 U.S.C. §1512(c) and the legislative history and purpose of the

Electoral Act of 1887, “obstruction of an official proceeding before Congress” was never

intended to apply to an event that involves no witness testimony, documentary or tangible

evidence, or meaningful adjudication. Of course, most-if not all- of congressional hearings do

involve witness testimony and documentary evidence, and allow Congress to exercise their

investigatory power. Section 1512(c) is designed to protect the integrity of witness testimony

and evidence at those proceedings. See generally United States v. Poindexter, 951 F.2d 369, 382

(D.C. Cir. 1991) (discussing how the Victim and Witness Protection Act of 1982 created a new

provision, §1512, which prohibits various forms of witness tampering). Moreover, counting the

electoral college votes is not an adjudicative proceeding. Congress was tasked with merely

ensuring that the requirements for certification have been followed after the states have already

made the determination that the votes were lawfully certified.

       The administrative and ceremonial proceeding was not the target of §1512(c). The

government’s own definition of a congressional hearing makes this distinction clear. According

to Govinfo.com, a congressional hearing is:

       A meeting or session of the Senate, House, Joint, or Special Committee of
       Congress, usually open to the public, to obtain information on proposed
       legislation, conduct an investigation, or evaluate/oversee the activities of a
       government department, or the implementation of a federal law. In addition,
       hearings may also be purely exploratory in nature, providing testimony and data
       about topics of current interest.


See Congressional Hearings | govinfo. The electoral vote counting is not included in this

description because it does not have the same characteristics as a congressional hearing. In fact,

when searching through the record of past congressional hearings, there is a standard format that

is applied to each hearing that is similar to a “hearing before a tribunal.” Id. The government

cannot conveniently group the unique tradition of the Electoral Count with every other

                                                10
        Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 11 of 16




Congressional hearing as they are completely different and possess different functions and

characteristics. The government also cannot ignore years of precedent and legislative history

where the clear purpose of 18 U.S.C. §1512(c)(2) is to protect the integrity of hearings where

there is a potential for destruction of documents and witness tampering.

           c. Even if the Court determines that the Electoral Count is an “Official
               Proceeding,” 18 U.S.C. §1512(C)(2) is Unconstitutionally Vague as Applied to
               this case

       Under the same principles of United States v. Johnson, 576 U.S. 591 (2015) and its

progeny, 18 U.S.C. §1512(c)(2) violates due process as it is vague and does not provide fair

notice to Mr. Seefried as to the conduct it punishes. The statute provides that:

       “Whoever corruptly –

           1. Alters, destroys, mutilates, or conceals a record, document, or
              other object, or attempts to do so, with the intent to impair the
              object’s integrity or availability for use in an official proceeding;
              or

           2. Otherwise obstructs, influences, or impedes any official
              proceeding, or attempts to do so…shall be fine….or imprisoned…

18 U.S.C. §1512(c)(1)(2)(emphasis added). First, §1512(c) uses words throughout both sections

that require courts to speculate as to their meaning in the context of the defendant’s particular

actions. Courts must speculate as to the meaning of the word “corruptly” and the phrase

“official proceeding.” Even more problematic is that subsection (c)(2) is a “residual clause,” one

that is ambiguous and that requires Courts to determine exactly what line must be drawn in order

to determine if a defendant is “otherwise” obstructing, impeding, or influencing an official

proceeding before Congress.

       The Court in Johnson explained that “the indeterminacy of the wide-ranging inquiry

required by the residual clause both denies fair notice to defendants and invites arbitrary

                                                 11
        Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 12 of 16




enforcement by judges.” Johnson, 576 U.S. at 597. There, the Court found a due process

violation where a defendant’s sentence was enhanced by the residual clause in the Armed Career

Criminal Act if the prior felony “involved conduct that presented a serious potential risk of

physical injury to another.” Johnson, 576 U.S. 591. The residual clause violated due process

because it required speculation in each case as to what could potentially cause injury in each set

of circumstances. Id. at 598. The ambiguity caused a wide range of interpretation and disparity

among courts over the course of nine years and the Court acknowledged that the “failure of

persistent efforts to establish a standard can provide evidence of vagueness.” Id. Similarly, the

discussion above regarding what constitutes an “official proceeding” illustrates just part of the

confusion and lack of cohesiveness among jurisdictions as to what qualifies as an “official

proceeding” and what does not. In fact, there has not been any established standard to apply

across all cases. The courts have had to speculate and attempt to draw a line to distinguish

“official proceedings” from just mere ancillary proceedings or investigations. As discussed

above, courts have generally interpreted “official proceeding” to mean something more than an

investigation and something more formal. However, there has been no established standard and

it has left ambiguity among the courts. See United States v. Perez, 575 F.3d 164, 169 (2d Cir.

2009); United States v. Dunn, 434 F. Supp. 2d 1203, 1207 (M.D. Ala. 2006); United States v.

Sutherland, 921 F.3d 421, 426 (4th Cir. 2019); United States v. McDaniel, 2014 WL 2084891

(N.D. Georgia 2014).

       The vagueness of the statute is not limited to the confusion surrounding what constitutes

an “official proceeding.” The D.C. Circuit has acknowledged that the word “corruptly” is vague

on its face as used in a similar statute, 18 U.S.C. §1505, that prohibits obstruction of a

proceeding before departments, agencies or congressional investigations. The court held that “in

the absence of some narrowing gloss, people must guess at its meaning and application.” United

                                                 12
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 13 of 16




States v. Poindexter, 951 F.2d 369, 398 (D.C. Cir. 1991). Previously, in Ricks v. District of

Columbia, 414 F.2d 1097 (D.C. Cir. 1968), the court held a statute that criminalized “leading an

immoral or profligate life” vague because it found “immoral” to be synonymous with “corrupt,

depraved, indecent, dissolute, all of which would result in “an almost boundless area for the

individual assessment of another’s behavior.” Poindexter, 951 F.2d. at 399 (quoting Ricks, 414

F.2d at 1097. The court explained that various dictionary definitions of the word “corrupt” did

not reduce the confusion as to its meaning for purposes of the statute. Id. After an assessment of

the legislative history and judicial interpretation, the court concluded that neither of those

inquiries provided defendants with the constitutionally required notice that the statute requires,

and found the term vague as applied to the defendant making false statements. Id. at 406.

         Following Poindexter, Congress amended §1515 to define “corruptly” for purposes of

§1505 only to mean “acting with an improper purpose, personally or by influencing another,

including making a false or misleading statement, or withholding, concealing, altering, or

destroying a document or other information.” §1515(b). However, this amendment did not

resolve the vagueness that still exists in §1512 as Congress did not amend §1515 as it applies to

§1512.

         Even though the D.C. Circuit later held that the word “corruptly” was not vague as

applied, it was because in that case the defendant influenced a witness which fit squarely within

the non-vague category that Poindexter established. United States v. Morrison, 98 F.3d 619, 630

(D.C. Cir. 1996). In Morrison, the defendant tried to influence a witness’s testimony and

“exhorted her to violate her legal duty to testify truthfully in court.” Id. The Court in Poindexter

explained that influencing another to “violate their legal duty” was not vague because “it would

both take account of the context in which the term “corruptly” appears and avoid the vagueness


                                                  13
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 14 of 16




inherent in words like “immorally.” Poindexter, 951 F.2d at 379. However, Morrison was not

faced with the question of what “corruptly” means in the context of Section 1512(c) and does not

resolve the ambiguity that the word presents in conjunction with the rest of the statute. Even

taking “corruptly influences” together is still vague because “influence” alone is another vague

word and means something different than “influencing another to violate their legal duty” as

described in §1515.

        Analyzing the government’s approach to charging defendants with a violation of

§1512(c)(2) arising out of events on January 6, 2021, illustrates how vague and arbitrary the

enforcement of this statute can be. It appears as though the government has been inconsistent in

its charging decisions. It has attempted to draw some bright line rules by charging individuals

with a violation of §1512(c)(2) if defendants entered the Senate floor. 4 However, when taking a

look at some of the defendants that have been charged with a violation of §1512(c)(2), the

inconsistencies become clear.

        (1) United States v. Isaac Sturgeon, 21-CR-91: Defendant alleged to have assisted in

            pushing a barricade outside the Capitol building but never entered the Senate

            chamber, never went inside the Capitol building, and never made any threats to law

            enforcement or statements on social media suggesting he wished to disrupt the vote.

            Mr. Sturgeon is also not alleged to be a part of the Oath Keepers or the Proud Boys.

        (2) United States v. Kenneth Grayson, 21-CR-224: Defendant alleged to have entered

            Capitol building, but not alleged to have entered the Senate chamber. Prior to

            January 6, 2021, he allegedly wrote in a private message, “I am there for the greatest



4
 See United States v. Paul Hodgkins, 1:21-CR-188 (RDM); United States v. Tommy Allan, 1:21-CR-064 (CKK);
United States v. Jacob Chansley, 1:21-CR-003 (RCL); United States v. Bradley Bennett, 1:21-CR-312 (JEB); United
States v. Leo Brent Bozell IV, 1:21-cr-216 (JDB) (not alleged to be a member of the Proud Boys or the Oath
Keepers).
                                                      14
        Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 15 of 16




           celebration of all time after Pence leads the Senate flip! OR IM THERE IF TRUMP

           TELLS US TO STORM THE FUKIN CAPITOL IME DO THAT THEN!

       (3) United States v. Benjamin Larocca, 21-CR-317: Defendant allegedly entered Capitol

           building while screaming “Our House!” Was with an individual who allegedly was

           yelling, “You fucking oath breakers!” Mr. Larocca is not alleged to have entered the

           Senate floor and is not a member of the Proud Boys or Oath Keepers.

       (4) United States v. Sean Michael McHugh, 21-CR-436: Defendant allegedly employed

           bear spray in direction of officers and yelled insults at officers. Also allegedly used a

           megaphone and engaged crowd with chants, such as “our house!” No evidence he

           entered the Capitol building or the Senate floor.

       (5) United States v. Dale Jeremiah Shalvey, 21-CR-334: Defendant allegedly entered the

           Senate Chamber and is captured on video rummaging through Senator Cruz’s notes.

           However, he is not alleged to be a member or follower of the Oath Keepers or the

           Proud Boys.

       As illustrated by these cases, the facts and circumstances of each case vary drastically

from each other and make it clear that the government’s charging decisions are inconsistent.

Some cases alleged entry into the Capitol building while others do not. More importantly, the

government does not specify what “influence” these defendants had or how exactly they

“impeded.” In this case, Mr. Seefried was initially charged with only two misdemeanors but the

government proceeded to indict him with the felony obstruction count. The only basis for the

charge appears to be because he entered the Capitol building, and allegedly made statements to

police officers that are similar to many of the other political statements that were made by several




                                                15
         Case 1:21-cr-00287-TNM Document 37 Filed 10/12/21 Page 16 of 16




defendants. Notably, none of Mr. Seefried’s alleged statements could have or have been

construed as criminal in nature 5.

        The inconsistent charging decisions along with the inherently vague words in the statute,

as well as the “residual clause” that is the basis for charging these defendants all show that 18

U.S.C. §1512(c)(2) is unconstitutionally vague and does not provide fair notice to Mr.

Seefried.

     CONCLUSION

        For all of the reasons discussed above, Kevin Seefried, respectfully moves the Court to

dismiss count 1 of the Indictment because it fails to state an offense and does not provide fair

notice in violation of his rights under the Fifth and Sixth Amendment of the United States

Constitution.



                                                             Respectfully submitted,

                                                             A.J. Kramer
                                                             Federal Public Defender


                                                             __________/s/_______________
                                                             Carlos J. Vanegas
                                                             Assistant Federal Public Defender
                                                             625 Indiana Ave., N.W., Suite 550
                                                             Washington, D.C. 20004
                                                             (202) 208-7500




 5
   Whatever statements Mr. Seefried made inside or outside of the Capitol are protected under the First Amendment
 right to speech, association and assembly. See Texas v. Johnson, 491 U.S. 397, 408-09 (1989) (a principal
 “function of free speech under our system of government is to invite dispute. It may indeed best serve its high
 purpose when it induces a condition of unrest, creates dissatisfaction with conditions as they are, or even stirs
 people to anger”).

                                                       16
